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                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA



 ELIZABETH SINES                                  :       Case No. 3:17-cv-00072

                Plaintiff                          :      Judge MOON
                                                          Mag. Judge Hoppe

                                                   :
        -v-

 JASON KESSLER et al.                             :

                                                   :
               Defendants




                            PROPOSED VERDICT FORM



        Now come defendants Jason Kessler, Nathan Damigo, and Identity Evropa

 (“Defendants”) and submit their proposed Verdict Form.
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 We, the jury, unanimously agree to the answers to the following questions and return them under
 the instructions of this Court as our verdict in this case.

                  FINDINGS ON PLAINTIFFS’ 42 U.S.C. 1985(3) CLAIMS

 Plaintiff Elizabeth Sines

    1. Has Elizabeth Sines proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate her constitutional rights?


        Yes___________(for Elizabeth Sines)          No____________(for Defendants)




    2. If you answered “Yes” to Question No. 1, has Elizabeth Sines proven by a preponderance
       of the evidence that Jason Kessler conspired to violate her constitutional rights?


        Yes___________(for Elizabeth Sines)          No____________(for Jason Kessler)


    3. If you answered “Yes” to Question No. 1, has Elizabeth Sines proven by a preponderance
       of the evidence that Nathan Damigo conspired to violate her constitutional rights?


        Yes___________(for Elizabeth Sines)          No____________(for Nathan Damigo)


    4. If you answered “Yes” to Question No. 1, has Elizabeth Sines proven by a preponderance
       of the evidence that Identity Evropa conspired to violate her constitutional rights?


        Yes___________(for Elizabeth Sines)          No____________(for Identity Evropa)

 Plaintiff Natalie Romero:

    5. Has Natalie Romero proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate her constitutional rights?


        Yes___________(for Natalie Romero)           No____________(for Defendants)
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   6. If you answered “Yes” to Question No. 5, has Natalie Romero proven by a
      preponderance of the evidence that Jason Kessler conspired to violate her constitutional
      rights?


       Yes___________(for Natalie Romero)           No____________(for Jason Kessler)

   7. If you answered “Yes” to Question No. 5, has Natalie Romero proven by a
      preponderance of the evidence that Nathan Damigo conspired to violate her constitutional
      rights?


       Yes___________(for Natalie Romero)           No____________(for Nathan Damigo)

   8. If you answered “Yes” to Question No. 5, has Natalie Romero proven by a
      preponderance of the evidence that Identity Evropa conspired to violate her constitutional
      rights?


       Yes___________(for Natalie Romero)           No____________(for Identity Evropa)

 Plaintiff Thomas Baker:

   9. Has Thomas Baker proven by a preponderance of the evidence that any specific
      defendant conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Thomas Baker)             No____________(for Defendants)

   10. If you answered “Yes” to Question No. 9, has Thomas Baker proven by a preponderance
       of the evidence that Jason Kessler conspired to violate his constitutional rights?


       Yes___________(for Thomas Baker)             No____________(for Jason Kessler)

   11. If you answered “Yes” to Question No. 9, has Thomas Baker proven by a preponderance
       of the evidence that Nathan Damigo conspired to violate his constitutional rights?


       Yes___________(for Thomas Baker)             No____________(for Nathan Damigo)

   12. If you answered “Yes” to Question No. 9, has Thomas Baker proven by a preponderance
       of the evidence that Identity Evropa conspired to violate his constitutional rights?


       Yes___________(for Thomas Baker)             No____________(for Identity Evropa)
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 Plaintiff Seth Wispelwey:

    13. Has Seth Wispelwey proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Seth Wispelwey)            No____________(for Defendants)

    14. If you answered “Yes” to Question No. 9, has Seth Wispelwey proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his constitutional
        rights?


       Yes___________(for Seth Wispelwey)            No____________(for Jason Kessler)


    15. If you answered “Yes” to Question No. 5, has Seth Wispelwey proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his constitutional
        rights?


       Yes___________(for Seth Wispelwey             No____________(for Nathan Damigo)



    16. If you answered “Yes” to Question No. 13, has Seth Wispelwey proven by a
        preponderance of the evidence that Identity Evropa conspired to violate his constitutional
        rights?


       Yes___________(for Seth Wispelwey)            No____________(for Identity Evropa)

 Plaintiff Marissa Blair:


    17. Has Marissa Blair proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Defendants)


    18. If you answered “Yes” to Question No. 17, has Marissa Blair proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Jason Kessler)
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    19. If you answered “Yes” to Question No. 17, has Marissa Blair proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Nathan Damigo)

    20. If you answered “Yes” to Question No. 17, has Marissa Blair proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Identity Evropa)


 Plaintiff April Muniz:

    21. Has April Muniz proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Defendants)

    22. If you answered “Yes” to Question No. 21, has April Muniz proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Jason Kessler)

    23. If you answered “Yes” to Question No. 21, has April Muniz proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Nathan Damigo)

    24. If you answered “Yes” to Question No. 21, has April Muniz proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Identity Evropa)


 Plaintiff Marcus Martin:

    25. Has Marcus Martin proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Marcus Martin)             No____________(for Defendants)
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    26. If you answered “Yes” to Question No. 25, has Marcus Martin proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his constitutional
        rights?


       Yes___________(for Marcus Martin)             No____________(for Jason Kessler)

    27. If you answered “Yes” to Question No. 25, has Marcus Martin proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his constitutional
        rights?


       Yes___________(for Marcus Martin)             No____________(for Nathan Damigo)

    28. If you answered “Yes” to Question No. 25, has Marcus Martin proven by a
        preponderance of the evidence that Identity Evropa conspired to violate his constitutional
        rights?


       Yes___________(for Marcus Martin)             No____________(for Identity Evropa)

 Plaintiff Chelsea Alvarado:

    29. Has Chelsea Alvarado proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Defendants)

    30. If you answered “Yes” to Question No. 29, has April Muniz proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Jason Kessler)

    31. If you answered “Yes” to Question No. 29, has April Muniz proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Nathan Damigo)

    32. If you answered “Yes” to Question No. 29, has April Muniz proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Identity Evropa)
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 Plaintiff Devin Willis:

    33. Has Devin Willis proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Defendants)

    34. If you answered “Yes” to Question No. 33, has Devin Willis proven by a preponderance
        of the evidence that Jason Kessler conspired to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Jason Kessler)

    35. If you answered “Yes” to Question No. 33, has Devin Willis proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Nathan Damigo)

    36. If you answered “Yes” to Question No. 33, has Devin Willis proven by a preponderance
        of the evidence that Identity Evropa conspired to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Identity Evropa)



                   FINDINGS ON PLAINTIFFS’ 42 U.S.C. 1986 CLAIMS

 Plaintiff Elizabeth Sines

    37. Has Elizabeth Sines proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate her constitutional rights?


       Yes___________(for Elizabeth Sines)           No____________(for Defendants)




    38. If you answered “Yes” to Question No. 38, has Elizabeth Sines proven by a
        preponderance of the evidence that Jason Kessler conspired to violate her constitutional
        rights?


       Yes___________(for Elizabeth Sines)           No____________(for Jason Kessler)
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    39. If you answered “Yes” to Question No. 38, has Elizabeth Sines proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate her constitutional
        rights?


       Yes___________(for Elizabeth Sines)           No____________(for Nathan Damigo)


    40. If you answered “Yes” to Question No. 38, has Elizabeth Sines proven by a
        preponderance of the evidence that Identity Evropa conspired to violate her constitutional
        rights?


       Yes___________(for Elizabeth Sines)           No____________(for Identity Evropa)

 Plaintiff Natalie Romero:

    41. Has Natalie Romero proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate her constitutional rights?


       Yes___________(for Natalie Romero)            No____________(for Defendants)



    42. If you answered “Yes” to Question No. 41, has Natalie Romero proven by a
        preponderance of the evidence that Jason Kessler conspired to violate her constitutional
        rights?


       Yes___________(for Natalie Romero)            No____________(for Jason Kessler)

    43. If you answered “Yes” to Question No. 41, has Natalie Romero proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate her constitutional
        rights?


       Yes___________(for Natalie Romero)            No____________(for Nathan Damigo)

    44. If you answered “Yes” to Question No. 41, has Natalie Romero proven by a
        preponderance of the evidence that Identity Evropa conspired to violate her constitutional
        rights?


       Yes___________(for Natalie Romero)            No____________(for Identity Evropa)
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 Plaintiff Thomas Baker:

    45. Has Thomas Baker proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Thomas Baker)              No____________(for Defendants)

    46. If you answered “Yes” to Question No. 45, has Thomas Baker proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his constitutional
        rights?


       Yes___________(for Thomas Baker)              No____________(for Jason Kessler)

    47. If you answered “Yes” to Question No. 45, has Thomas Baker proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his constitutional
        rights?


       Yes___________(for Thomas Baker)              No____________(for Nathan Damigo)

    48. If you answered “Yes” to Question No. 45, has Thomas Baker proven by a
        preponderance of the evidence that Identity Evropa conspired to violate his constitutional
        rights?


       Yes___________(for Thomas Baker)              No____________(for Identity Evropa)


 Plaintiff Seth Wispelwey:

    49. Has Seth Wispelwey proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Seth Wispelwey)            No____________(for Defendants)

    50. If you answered “Yes” to Question No. 49, has Seth Wispelwey proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his constitutional
        rights?


       Yes___________(for Seth Wispelwey)            No____________(for Jason Kessler)
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    51. If you answered “Yes” to Question No. 49, has Seth Wispelwey proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his constitutional
        rights?


       Yes___________(for Seth Wispelwey             No____________(for Nathan Damigo)



    52. If you answered “Yes” to Question No. 49, has Seth Wispelwey proven by a
        preponderance of the evidence that Identity Evropa conspired to violate his constitutional
        rights?


       Yes___________(for Seth Wispelwey)            No____________(for Identity Evropa)

 Plaintiff Marissa Blair:


    53. Has Marissa Blair proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Defendants)


    54. If you answered “Yes” to Question No. 53, has Marissa Blair proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Jason Kessler)

    55. If you answered “Yes” to Question No. 53, has Marissa Blair proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Nathan Damigo)

    56. If you answered “Yes” to Question No. 53, has Marissa Blair proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her constitutional rights?


       Yes___________(for Marissa Blair) No____________(for Identity Evropa)
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 Plaintiff April Muniz:

    57. Has April Muniz proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Defendants)

    58. If you answered “Yes” to Question No. 57, has April Muniz proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Jason Kessler)

    59. If you answered “Yes” to Question No. 57, has April Muniz proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Nathan Damigo)

    60. If you answered “Yes” to Question No. 57, has April Muniz proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her constitutional rights?


       Yes___________(for April Muniz) No____________(for Identity Evropa)


 Plaintiff Marcus Martin:

    61. Has Marcus Martin proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Marcus Martin)             No____________(for Defendants)

    62. If you answered “Yes” to Question No. 61, has Marcus Martin proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his constitutional
        rights?


       Yes___________(for Marcus Martin)             No____________(for Jason Kessler)

    63. If you answered “Yes” to Question No. 61, has Marcus Martin proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his constitutional
        rights?


       Yes___________(for Marcus Martin)             No____________(for Nathan Damigo)
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    64. If you answered “Yes” to Question No. 61, has Marcus Martin proven by a
        preponderance of the evidence that Identity Evropa conspired to violate his constitutional
        rights?


       Yes___________(for Marcus Martin)             No____________(for Identity Evropa)

 Plaintiff Chelsea Alvarado:

    65. Has Chelsea Alvarado proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Defendants)

    66. If you answered “Yes” to Question No. 65, has April Muniz proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Jason Kessler)

    67. If you answered “Yes” to Question No. 65, has April Muniz proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Nathan Damigo)

    68. If you answered “Yes” to Question No. 65, has April Muniz proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her constitutional rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Identity Evropa)


 Plaintiff Devin Willis:

    69. Has Devin Willis proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Defendants)

    70. If you answered “Yes” to Question No. 69, has Devin Willis proven by a preponderance
        of the evidence that Jason Kessler conspired to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Jason Kessler)
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    71. If you answered “Yes” to Question No. 69, has Devin Willis proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Nathan Damigo)

    72. If you answered “Yes” to Question No. 69, has Devin Willis proven by a preponderance
        of the evidence that Identity Evropa conspired to violate his constitutional rights?


       Yes___________(for Devin Willis) No____________(for Identity Evropa)



        FINDINGS ON PLAINTIFFS’ VIRGINIA CIVIL CONSPIRACY CLAIMS

 Plaintiff Elizabeth Sines

    73. Has Elizabeth Sines proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate her rights?


       Yes___________(for Elizabeth Sines)           No____________(for Defendants)




    74. If you answered “Yes” to Question No. 73, has Elizabeth Sines proven by a
        preponderance of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for Elizabeth Sines)           No____________(for Jason Kessler)


    75. If you answered “Yes” to Question No. 73, has Elizabeth Sines proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for Elizabeth Sines)           No____________(for Nathan Damigo)


    76. If you answered “Yes” to Question No. 73, has Elizabeth Sines proven by a
        preponderance of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for Elizabeth Sines)           No____________(for Identity Evropa)
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 Plaintiff Natalie Romero:

    77. Has Natalie Romero proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate her rights?


       Yes___________(for Natalie Romero)            No____________(for Defendants)



    78. If you answered “Yes” to Question No. 77, has Natalie Romero proven by a
        preponderance of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for Natalie Romero)            No____________(for Jason Kessler)

    79. If you answered “Yes” to Question No. 77, has Natalie Romero proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for Natalie Romero)            No____________(for Nathan Damigo)

    80. If you answered “Yes” to Question No. 77, has Natalie Romero proven by a
        preponderance of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for Natalie Romero)            No____________(for Identity Evropa)

 Plaintiff Thomas Baker:

    81. Has Thomas Baker proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his rights?


       Yes___________(for Thomas Baker)              No____________(for Defendants)

    82. If you answered “Yes” to Question No. 81, has Thomas Baker proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his rights?


       Yes___________(for Thomas Baker)              No____________(for Jason Kessler)

    83. If you answered “Yes” to Question No. 81, has Thomas Baker proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his rights?


       Yes___________(for Thomas Baker)              No____________(for Nathan Damigo)
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    84. If you answered “Yes” to Question No. 81, has Thomas Baker proven by a
        preponderance of the evidence that Identity Evropa conspired to violate his rights?


       Yes___________(for Thomas Baker)              No____________(for Identity Evropa)


 Plaintiff Seth Wispelwey:

    85. Has Seth Wispelwey proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his rights?


       Yes___________(for Seth Wispelwey)            No____________(for Defendants)

    86. If you answered “Yes” to Question No. 85, has Seth Wispelwey proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his rights?


       Yes___________(for Seth Wispelwey)            No____________(for Jason Kessler)


    87. If you answered “Yes” to Question No. 85, has Seth Wispelwey proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his rights?


       Yes___________(for Seth Wispelwey             No____________(for Nathan Damigo)



    88. If you answered “Yes” to Question No. 85, has Seth Wispelwey proven by a
        preponderance of the evidence that Identity Evropa conspired to violate his rights?


       Yes___________(for Seth Wispelwey)            No____________(for Identity Evropa)

 Plaintiff Marissa Blair:


    89. Has Marissa Blair proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate her rights?


       Yes___________(for Marissa Blair) No____________(for Defendants)


    90. If you answered “Yes” to Question No. 89, has Marissa Blair proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her rights?
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       Yes___________(for Marissa Blair) No____________(for Jason Kessler)

    91. If you answered “Yes” to Question No. 89, has Marissa Blair proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for Marissa Blair) No____________(for Nathan Damigo)

    92. If you answered “Yes” to Question No. 89, has Marissa Blair proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for Marissa Blair) No____________(for Identity Evropa)


 Plaintiff April Muniz:

    93. Has April Muniz proven by a preponderance of the evidence that any specific defendant
        conspired with any other specific person to violate her rights?


       Yes___________(for April Muniz) No____________(for Defendants)

    94. If you answered “Yes” to Question No. 93, has April Muniz proven by a preponderance
        of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for April Muniz) No____________(for Jason Kessler)

    95. If you answered “Yes” to Question No. 93, has April Muniz proven by a preponderance
        of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for April Muniz) No____________(for Nathan Damigo)

    96. If you answered “Yes” to Question No. 93, has April Muniz proven by a preponderance
        of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for April Muniz) No____________(for Identity Evropa)


 Plaintiff Marcus Martin:

    97. Has Marcus Martin proven by a preponderance of the evidence that any specific
        defendant conspired with any other specific person to violate his rights?
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       Yes___________(for Marcus Martin)             No____________(for Defendants)

    98. If you answered “Yes” to Question No. 98, has Marcus Martin proven by a
        preponderance of the evidence that Jason Kessler conspired to violate his rights?


       Yes___________(for Marcus Martin)             No____________(for Jason Kessler)

    99. If you answered “Yes” to Question No. 98, has Marcus Martin proven by a
        preponderance of the evidence that Nathan Damigo conspired to violate his rights?


       Yes___________(for Marcus Martin)             No____________(for Nathan Damigo)

    100.     If you answered “Yes” to Question No. 98, has Marcus Martin proven by a
       preponderance of the evidence that Identity Evropa conspired to violate his rights?


       Yes___________(for Marcus Martin)             No____________(for Identity Evropa)

 Plaintiff Chelsea Alvarado:

    101.       Has Chelsea Alvarado proven by a preponderance of the evidence that any
       specific defendant conspired with any other specific person to violate her rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Defendants)

    102.     If you answered “Yes” to Question No. 101, has April Muniz proven by a
       preponderance of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Jason Kessler)

    103.     If you answered “Yes” to Question No. 101, has April Muniz proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Nathan Damigo)

    104.     If you answered “Yes” to Question No. 101, has April Muniz proven by a
       preponderance of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for Chelsea Alvarado)          No____________(for Identity Evropa)
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 Plaintiff Devin Willis:

    105.      Has Devin Willis proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate his rights?


       Yes___________(for Devin Willis) No____________(for Defendants)

    106.     If you answered “Yes” to Question No. 105, has Devin Willis proven by a
       preponderance of the evidence that Jason Kessler conspired to violate his rights?


       Yes___________(for Devin Willis) No____________(for Jason Kessler)

    107.     If you answered “Yes” to Question No. 105, has Devin Willis proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate his rights?


       Yes___________(for Devin Willis) No____________(for Nathan Damigo)

    108.     If you answered “Yes” to Question No. 105, has Devin Willis proven by a
       preponderance of the evidence that Identity Evropa conspired to violate his crights?


       Yes___________(for Devin Willis) No____________(for Identity Evropa)


     FINDINGS ON PLAINTIFFS’ VIRGINIA RACIAL, RELIGIOUS, OR ETHNIC
                         HARASSMENT CLAIMS


 Plaintiff Elizabeth Sines

    109.      Has Elizabeth Sines proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate her rights?


       Yes___________(for Elizabeth Sines)          No____________(for Defendants)




    110.     If you answered “Yes” to Question No. 109, has Elizabeth Sines proven by a
       preponderance of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for Elizabeth Sines)          No____________(for Jason Kessler)
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    111.     If you answered “Yes” to Question No. 109, has Elizabeth Sines proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for Elizabeth Sines)         No____________(for Nathan Damigo)


    112.     If you answered “Yes” to Question No. 109, has Elizabeth Sines proven by a
       preponderance of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for Elizabeth Sines)         No____________(for Identity Evropa)

 Plaintiff Natalie Romero:

    113.      Has Natalie Romero proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate her rights?


       Yes___________(for Natalie Romero)          No____________(for Defendants)



    114.     If you answered “Yes” to Question No. 113, has Natalie Romero proven by a
       preponderance of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for Natalie Romero)          No____________(for Jason Kessler)

    115.     If you answered “Yes” to Question No. 113, has Natalie Romero proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for Natalie Romero)          No____________(for Nathan Damigo)

    116.     If you answered “Yes” to Question No. 113, has Natalie Romero proven by a
       preponderance of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for Natalie Romero)          No____________(for Identity Evropa)

 Plaintiff Thomas Baker:

    117.      Has Thomas Baker proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate his rights?
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       Yes___________(for Thomas Baker)             No____________(for Defendants)

    118.     If you answered “Yes” to Question No. 117, has Thomas Baker proven by a
       preponderance of the evidence that Jason Kessler conspired to violate his rights?


       Yes___________(for Thomas Baker)             No____________(for Jason Kessler)

    119.     If you answered “Yes” to Question No. 117, has Thomas Baker proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate his rights?


       Yes___________(for Thomas Baker)             No____________(for Nathan Damigo)

    120.     If you answered “Yes” to Question No. 117, has Thomas Baker proven by a
       preponderance of the evidence that Identity Evropa conspired to violate his rights?


       Yes___________(for Thomas Baker)             No____________(for Identity Evropa)


 Plaintiff Seth Wispelwey:

    121.      Has Seth Wispelwey proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate his rights?


       Yes___________(for Seth Wispelwey)           No____________(for Defendants)

    122.     If you answered “Yes” to Question No. 121, has Seth Wispelwey proven by a
       preponderance of the evidence that Jason Kessler conspired to violate his rights?


       Yes___________(for Seth Wispelwey)           No____________(for Jason Kessler)


    123.     If you answered “Yes” to Question No. 121, has Seth Wispelwey proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate his rights?


       Yes___________(for Seth Wispelwey            No____________(for Nathan Damigo)



    124.     If you answered “Yes” to Question No. 121, has Seth Wispelwey proven by a
       preponderance of the evidence that Identity Evropa conspired to violate his rights?
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       Yes___________(for Seth Wispelwey)           No____________(for Identity Evropa)

 Plaintiff Marissa Blair:


    125.      Has Marissa Blair proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate her rights?


       Yes___________(for Marissa Blair) No____________(for Defendants)


    126.     If you answered “Yes” to Question No. 125, has Marissa Blair proven by a
       preponderance of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for Marissa Blair) No____________(for Jason Kessler)

    127.     If you answered “Yes” to Question No. 125, has Marissa Blair proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate her rights?


       Yes___________(for Marissa Blair) No____________(for Nathan Damigo)

    128.     If you answered “Yes” to Question No. 125, has Marissa Blair proven by a
       preponderance of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for Marissa Blair) No____________(for Identity Evropa)


 Plaintiff April Muniz:

    129.      Has April Muniz proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate her rights?


       Yes___________(for April Muniz) No____________(for Defendants)

    130.     If you answered “Yes” to Question No. 129, has April Muniz proven by a
       preponderance of the evidence that Jason Kessler conspired to violate her rights?


       Yes___________(for April Muniz) No____________(for Jason Kessler)

    131.     If you answered “Yes” to Question No. 129, has April Muniz proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate her rights?
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       Yes___________(for April Muniz) No____________(for Nathan Damigo)

    132.     If you answered “Yes” to Question No. 129, has April Muniz proven by a
       preponderance of the evidence that Identity Evropa conspired to violate her rights?


       Yes___________(for April Muniz) No____________(for Identity Evropa)


 Plaintiff Marcus Martin:

    133.      Has Marcus Martin proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate his rights?


       Yes___________(for Marcus Martin)            No____________(for Defendants)

    134.     If you answered “Yes” to Question No. 133, has Marcus Martin proven by a
       preponderance of the evidence that Jason Kessler conspired to violate his rights?


       Yes___________(for Marcus Martin)            No____________(for Jason Kessler)

    135.     If you answered “Yes” to Question No. 133, has Marcus Martin proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate his rights?


       Yes___________(for Marcus Martin)            No____________(for Nathan Damigo)

    136.     If you answered “Yes” to Question No. 133, has Marcus Martin proven by a
       preponderance of the evidence that Identity Evropa conspired to violate his rights?


       Yes___________(for Marcus Martin)            No____________(for Identity Evropa)

 Plaintiff Chelsea Alvarado:

    137.       Has Chelsea Alvarado proven by a preponderance of the evidence that any
       specific defendant conspired with any other specific person to violate her rights?


       Yes___________(for Chelsea Alvarado)         No____________(for Defendants)

    138.     If you answered “Yes” to Question No. 137, has April Muniz proven by a
       preponderance of the evidence that Jason Kessler conspired to violate her rights?
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        Yes___________(for Chelsea Alvarado)         No____________(for Jason Kessler)

    139.     If you answered “Yes” to Question No. 137, has April Muniz proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate her rights?


        Yes___________(for Chelsea Alvarado)         No____________(for Nathan Damigo)

    140.     If you answered “Yes” to Question No. 137, has April Muniz proven by a
       preponderance of the evidence that Identity Evropa conspired to violate her rights?


        Yes___________(for Chelsea Alvarado)         No____________(for Identity Evropa)


 Plaintiff Devin Willis:

    141.      Has Devin Willis proven by a preponderance of the evidence that any specific
       defendant conspired with any other specific person to violate his rights?


        Yes___________(for Devin Willis) No____________(for Defendants)

    142.     If you answered “Yes” to Question No. 141, has Devin Willis proven by a
       preponderance of the evidence that Jason Kessler conspired to violate his rights?


        Yes___________(for Devin Willis) No____________(for Jason Kessler)

    143.     If you answered “Yes” to Question No. 141, has Devin Willis proven by a
       preponderance of the evidence that Nathan Damigo conspired to violate his rights?


        Yes___________(for Devin Willis) No____________(for Nathan Damigo)

    144.     If you answered “Yes” to Question No. 141, has Devin Willis proven by a
       preponderance of the evidence that Identity Evropa conspired to violate his crights?


        Yes___________(for Devin Willis) No____________(for Identity Evropa)

 Have the presiding juror sign and date this form.


 Signed:____________________________________ Date:_______________________________

                                                                   PRESIDING JUROR
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                                                            Respectfully Submitted,

                                                            s/ James E. Kolenich
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                                                            isuecrooks@comcast.net

                                                            Trial Attorneys for Jason Kessler,
                                                            Nathan Damigo, and Identity
                                                            Evropa


                                CERTIFICATE OF SERVICE

  I certify the above was served on OCTOBER 12, 2021 on all ECF participants and that parties
  requiring service by other means were served as follows:


  Robert Ray
  azzmador@gmail.com
  Vanguard America c/o Dillon Hopper
  dillon_hopper@protonmail.com
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                                                            Respectfully Submitted,

                                                            s/   James E. Kolenich
